  Case 20-10827-JNP                Doc 73 Filed 12/04/22 Entered 12/05/22 00:34:57                               Desc Imaged
                                        Certificate of Notice Page 1 of 5
Form 148 − ntcdsmcs

                                   UNITED STATES BANKRUPTCY COURT


District of New Jersey
401 Market Street
Camden, NJ 08102

                                         Case No.: 20−10827−JNP
                                         Chapter: 13
                                         Judge: Jerrold N. Poslusny Jr.

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Haile P. Perez                                           Rosalba M. Perez
   127 Schaffer Ave                                         127 Schaffer Ave
   Cedarville, NJ 08311                                     Cedarville, NJ 08311
Social Security No.:
   xxx−xx−1222                                              xxx−xx−2334
Employer's Tax I.D. No.:


                                    NOTICE OF ORDER DISMISSING CASE


       NOTICE IS HEREBY GIVEN that an Order Dismissing the above captioned Case
as to the:
       Debtor and Joint Debtor was entered on December 2, 2022.

       Any discharge which was granted as to the above mentioned debtor(s) in this case is vacated. All outstanding
fees to the Court incurred by the dismissed debtor(s) are due and owing and must be paid within seven (7) days from
the date of this Order.

      This dismissal may mean that the debtor is ineligible to file another bankruptcy petition for 180 days under 11
U.S.C. § 109(g).




Dated: December 2, 2022
JAN:

                                                                          Jeanne Naughton
                                                                          Clerk
      Case 20-10827-JNP                     Doc 73 Filed 12/04/22 Entered 12/05/22 00:34:57                                              Desc Imaged
                                                 Certificate of Notice Page 2 of 5
                                                              United States Bankruptcy Court
                                                                  District of New Jersey
In re:                                                                                                                 Case No. 20-10827-JNP
Haile P. Perez                                                                                                         Chapter 13
Rosalba M. Perez
       Debtors
                                                     CERTIFICATE OF NOTICE
District/off: 0312-1                                                  User: admin                                                                 Page 1 of 4
Date Rcvd: Dec 02, 2022                                               Form ID: 148                                                              Total Noticed: 49
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

++               Addresses marked '++' were redirected to the recipient's preferred mailing address pursuant to 11 U.S.C. § 342(f)/Fed. R. Bank. P. 2002(g)(4).

^                Addresses marked '^' were sent via mandatory electronic bankruptcy noticing pursuant to Fed. R. Bank. P. 9036.

+++              Addresses marked '+++' were redirected to the recipient's preferred mailing address pursuant to 11 U.S.C. § 342(e).

##               Addresses marked '##' were identified by the USPS National Change of Address system as undeliverable. Notices will no longer be delivered by
                 the USPS to these addresses; therefore, they have been bypassed. The debtor's attorney or pro se debtor was advised that the specified notice was
                 undeliverable.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Dec 04, 2022:
Recip ID                Recipient Name and Address
db/jdb                + Haile P. Perez, Rosalba M. Perez, 127 Schaffer Ave, Cedarville, NJ 08311-2207
cr                    + Global Lending Services, LLC, P.O. Box 340514, Tampa, FL 33694-0514
518666894               Apex Asset Management, 1286 Carmichael Way, Montgomery, AL 36106-3645
518666898             + Center For Diagnostic Imaging, 1550 E. Chestnut Ave Ste 4c, Vineland, NJ 08361
518666901             + Cumberland County Taxation Board, 220 N Laurel St, Bridgeton, NJ 08302-1516
518666902             + Diversified Consultants, 600 Coon Rapids Blvd NW, Coon Rapids, MN 55433-5549
518666903           +++ Embrace Home Loans Inc., Rushmore Loan Management Services, PO Box 52708, Irvine, CA 92619-2708
518666909             + Jefferson Capital, 4500 Cherry Creek Drive South Suite 700, Denver, CO 80246-1534
518666911             + Lawrence Township Tax Assessor, 357 Main St, Cedarville, NJ 08311-2542
518666916             + Selip & Stylianou LLP, 10 Forest Avenue, Paramus, NJ 07652-5238
518666917             + Slomin's Inc, 125 Lauman Lane, Hicksville, NY 11801-6539
518666918             + South Jersey Health System, PO Box 3129, Secaucus, NJ 07096-3129
518666920               State Of New Jersey, P.O. Box 245, Dept Of Treasury-Division Of Taxation, Trenton, NJ 08695-0245

TOTAL: 13

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                  Notice Type: Email Address                                    Date/Time                 Recipient Name and Address
smg                       Email/Text: usanj.njbankr@usdoj.gov
                                                                                        Dec 02 2022 19:22:00      U.S. Attorney, 970 Broad St., Room 502, Rodino
                                                                                                                  Federal Bldg., Newark, NJ 07102-2534
smg                    + Email/Text: ustpregion03.ne.ecf@usdoj.gov
                                                                                        Dec 02 2022 19:22:00      United States Trustee, Office of the United States
                                                                                                                  Trustee, 1085 Raymond Blvd., One Newark
                                                                                                                  Center, Suite 2100, Newark, NJ 07102-5235
519117999                 Email/PDF: bncnotices@becket-lee.com
                                                                                        Dec 02 2022 19:35:18      Afni, Inc., c/o Becket and Lee LLP, PO Box 3001,
                                                                                                                  Malvern PA 19355-0701
519118000              + Email/PDF: bncnotices@becket-lee.com
                                                                                        Dec 02 2022 19:35:17      Afni, Inc., c/o Becket and Lee LLP, PO Box 3001,
                                                                                                                  Malvern PA 19355-0701, Afni, Inc., c/o Becket
                                                                                                                  and Lee LLP 19355-0701
518666895                 EDI: CAPITALONE.COM
                                                                                        Dec 03 2022 00:18:00      Capital One, PO Box 85015, Richmond, VA
                                                                                                                  23285-5015
518676784              + EDI: AIS.COM
                                                                                        Dec 03 2022 00:18:00      Capital One Bank (USA), N.A., 4515 N Santa Fe
                                                                                                                  Ave, Oklahoma City, OK 73118-7901
518666897              + EDI: CAPITALONE.COM
                                                                                        Dec 03 2022 00:18:00      Capital One Justice, PO Box 30253, Salt Lake
                                                                                                                  City, UT 84130-0253
518666899                 EDI: CITICORP.COM
     Case 20-10827-JNP              Doc 73 Filed 12/04/22 Entered 12/05/22 00:34:57                                    Desc Imaged
                                         Certificate of Notice Page 3 of 5
District/off: 0312-1                                       User: admin                                                         Page 2 of 4
Date Rcvd: Dec 02, 2022                                    Form ID: 148                                                      Total Noticed: 49
                                                                          Dec 03 2022 00:18:00   Citi Cards, PO Box 8113, South Hackensack, NJ
                                                                                                 07606-8113
518666900          EDI: WFNNB.COM
                                                                          Dec 03 2022 00:18:00   Comenity Bank/Peebles, Po Box 182789,
                                                                                                 Columbus, OH 43218-2789
518750619          EDI: IRS.COM
                                                                          Dec 03 2022 00:18:00   Department of the Treasury - IRS, PO Box 7346,
                                                                                                 Philadelphia, PA 19101-7346
519497527       + Email/Text: flyersprod.inbound@axisai.com
                                                                          Dec 02 2022 19:22:00   Embrace Home Loans, Inc., C/O RUSHMORE
                                                                                                 LOAN MANAGEMENT, P.O. Box 55004, Irvine,
                                                                                                 CA 9261, Embrace Home Loans, Inc., C/O
                                                                                                 RUSHMORE LOAN MANAGEMENT
                                                                                                 92619-5004
519497526       + Email/Text: flyersprod.inbound@axisai.com
                                                                          Dec 02 2022 19:22:00   Embrace Home Loans, Inc., C/O RUSHMORE
                                                                                                 LOAN MANAGEMENT, P.O. Box 55004, Irvine,
                                                                                                 CA 92619-5004
518666904          EDI: BLUESTEM
                                                                          Dec 03 2022 00:18:00   Finger Hut, PO Box 166, Newark, NJ 07101-0166
518748186          Email/Text: bankruptcy@glsllc.com
                                                                          Dec 02 2022 19:21:00   Global Lending Services LLC, 1200 Brookfield
                                                                                                 Blvd Ste 300, Greenville, South Carolina 29603
518666905       + Email/Text: bankruptcy@glsllc.com
                                                                          Dec 02 2022 19:21:00   Global Lending Servoces LLC, P.O Box 10437,
                                                                                                 Greenville, SC 29603-0437
518666910          EDI: JEFFERSONCAP.COM
                                                                          Dec 03 2022 00:18:00   Jefferson Capital, 16 McLeland Rd, Saint Cloud,
                                                                                                 MN 56303
518758219          EDI: JEFFERSONCAP.COM
                                                                          Dec 03 2022 00:18:00   Jefferson Capital Systems LLC, Po Box 7999,
                                                                                                 Saint Cloud Mn 56302-9617
518673835          Email/PDF: resurgentbknotifications@resurgent.com
                                                                          Dec 02 2022 19:35:11   LVNV Funding, LLC, Resurgent Capital Services,
                                                                                                 PO Box 10587, Greenville, SC 29603-0587
518694748          Email/PDF: MerrickBKNotifications@Resurgent.com
                                                                          Dec 02 2022 19:24:42   MERRICK BANK, Resurgent Capital Services,
                                                                                                 PO Box 10368, Greenville, SC 29603-0368
518720969       + EDI: CBSMASON
                                                                          Dec 03 2022 00:18:00   Massey's, c/o Creditors Bankruptcy Service, P.O.
                                                                                                 Box 800849, Dallas, TX 75380-0849
518666912          Email/PDF: MerrickBKNotifications@Resurgent.com
                                                                          Dec 02 2022 19:24:42   Merrick Bank, PO Box 5721, Hicksville, NY
                                                                                                 11802-5721
518747772       + Email/Text: bankruptcydpt@mcmcg.com
                                                                          Dec 02 2022 19:22:00   Midland Funding LLC, PO Box 2011, Warren MI
                                                                                                 48090-2011
518666913        ^ MEBN
                                                                          Dec 02 2022 19:17:33   Office Of Attorney General, 25 Market Street, PO
                                                                                                 Box 112, Richard J Hughes Justice Complex,
                                                                                                 Trenton, NJ 08625-0112
518666914       + Email/Text: EBN_Waco@Receivemorermp.com
                                                                          Dec 02 2022 19:22:00   PMAB LLC, 4135 S Stream Blvd Ste, Charlotte,
                                                                                                 NC 28217-4636
518712628          EDI: PRA.COM
                                                                          Dec 03 2022 00:18:00   Portfolio Recovery Associates, LLC, c/o Capital
                                                                                                 One Bank (usa), N.a., POB 41067, Norfolk VA
                                                                                                 23541
518712252          EDI: PRA.COM
                                                                          Dec 03 2022 00:18:00   Portfolio Recovery Associates, LLC, c/o Justice,
                                                                                                 POB 41067, Norfolk VA 23541
518771399          EDI: Q3G.COM
                                                                          Dec 03 2022 00:18:00   Quantum3 Group LLC as agent for, Comenity
                                                                                                 Bank, PO Box 788, Kirkland, WA 98083-0788
518756944          EDI: Q3G.COM
                                                                          Dec 03 2022 00:18:00   Quantum3 Group LLC as agent for, MOMA Trust
                                                                                                 LLC, PO Box 788, Kirkland, WA 98083-0788
518756787          Email/Text: bankruptcy@roundpointmortgage.com
                                                                          Dec 02 2022 19:22:00   RoundPoint Mortgage Servicing Corporation, 446
                                                                                                 Wrenplace Road, Fort Mill, SC 29715
518684585          EDI: AISSPRINT
                                                                          Dec 03 2022 00:18:00   Sprint Corp., Attn: Bankruptcy, PO Box 7949,
                                                                                                 Overland Park, KS 66207-0949
518666919          EDI: USBANKARS.COM
                                                                          Dec 03 2022 00:18:00   State Farm Bank, P.O. Box 23025, Columbus, GA
                                                                                                 31902-3025
       Case 20-10827-JNP                  Doc 73 Filed 12/04/22 Entered 12/05/22 00:34:57                                        Desc Imaged
                                               Certificate of Notice Page 4 of 5
District/off: 0312-1                                               User: admin                                                            Page 3 of 4
Date Rcvd: Dec 02, 2022                                            Form ID: 148                                                         Total Noticed: 49
518742638                 EDI: BECKLEE.COM
                                                                                   Dec 03 2022 00:18:00     State Farm Bank, c/o Becket and Lee LLP, PO
                                                                                                            Box 3001, Malvern PA 19355-0701
518666921                 EDI: CBS7AVE
                                                                                   Dec 03 2022 00:18:00     Swiss Colony, 1112 7th Ave, Monroe, WI
                                                                                                            53566-1364
518667562              + EDI: RMSC.COM
                                                                                   Dec 03 2022 00:18:00     Synchrony Bank, c/o of PRA Receivables
                                                                                                            Management, LLC, PO Box 41021, Norfolk, VA
                                                                                                            23541-1021
518757657              + EDI: AIS.COM
                                                                                   Dec 03 2022 00:18:00     Verizon, by American InfoSource as agent, 4515
                                                                                                            N Santa Fe Ave, Oklahoma City, OK 73118-7901
518666922                 EDI: VERIZONCOMB.COM
                                                                                   Dec 03 2022 00:18:00     Verizon, PO Box 25087, Wilmington, DE
                                                                                                            19899-5087

TOTAL: 36


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID           Bypass Reason Name and Address
518666896          *P++          CAPITAL ONE, PO BOX 30285, SALT LAKE CITY UT 84130-0285, address filed with court:, Capital One, PO Box 85015,
                                 Richmond, VA 23285-5015
518666908          *             Internal Revenue Service, P.O. Box 744, Special Procedure Branch, Springfield, NJ 07081
518666906          *+            Internal Revenue Service, PO Box 7346, Philadelphia, PA 19101-7346
518666907          *             Internal Revenue Service, Po Box 725 Special Procedures Fuction, Springfield, NJ 07081
518666915          ##+           RoundPoint Mortgage, 5032 Parkway Plaza Blvd, Charlotte, NC 28217-1918

TOTAL: 0 Undeliverable, 4 Duplicate, 1 Out of date forwarding address


                                                   NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Dec 04, 2022                                        Signature:           /s/Gustava Winters




                                 CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on December 2, 2022 at the address(es) listed
below:
Name                              Email Address
Denise E. Carlon
                                  on behalf of Creditor Embrace Home Loans Inc. dcarlon@kmllawgroup.com, bkgroup@kmllawgroup.com

Gavin Stewart
                                  on behalf of Creditor Global Lending Services LLC bk@stewartlegalgroup.com

Isabel C. Balboa
                                  on behalf of Trustee Isabel C. Balboa ecfmail@standingtrustee.com summarymail@standingtrustee.com

Isabel C. Balboa
                                  ecfmail@standingtrustee.com summarymail@standingtrustee.com

Seymour Wasserstrum
                                  on behalf of Joint Debtor Rosalba M. Perez mylawyer7@aol.com ecf@seymourlaw.net;r47769@notify.bestcase.com
      Case 20-10827-JNP           Doc 73 Filed 12/04/22 Entered 12/05/22 00:34:57                                    Desc Imaged
                                       Certificate of Notice Page 5 of 5
District/off: 0312-1                                     User: admin                                                         Page 4 of 4
Date Rcvd: Dec 02, 2022                                  Form ID: 148                                                      Total Noticed: 49
Seymour Wasserstrum
                          on behalf of Debtor Haile P. Perez mylawyer7@aol.com ecf@seymourlaw.net;r47769@notify.bestcase.com

U.S. Trustee
                          USTPRegion03.NE.ECF@usdoj.gov


TOTAL: 7
